     Case 1:23-cv-01228-ADA-CDB Document 15 Filed 08/24/23 Page 1 of 3


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 9   Anderson, Adrienne C. Brown, Tom Epstein, Felicia
     Escobar Carrillo, Jolena M. Grande, Pamela
10   Haynes, Eleni Kounalakis, Harry Le Grande, Paul
     Medina, Jennifer L. Perry, Bill Rawlings, Mary H.
11   Salas, Blas Villalobos, and Joseph R. Williams, in
     their official capacities as members of the Board of
12   Governors of the California Community Colleges

13
                               IN THE UNITED STATES DISTRICT COURT
14
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
15

16

17   LOREN PALSGAARD, et al.,                               1:23-cv-01228-ADA-CDB

18                                            Plaintiffs,   DEFENDANTS’ OPPOSITION TO
                                                            ADMINISTRATIVE MOTION FOR
19                   v.                                     LEAVE TO FILE OVERSIZED BRIEF

20
     SONAYA CHRISTIAN, et al.,
21
                                           Defendants.
22

23

24         Defendants Sonya Christian, in her official capacity as Chancellor of the California

25   Community Colleges, and Amy M. Costa, Hildegarde B. Aguinaldo, Darius W. Anderson,

26   Adrienne C. Brown, Tom Epstein, Felicia Escobar Carrillo, Jolena M. Grande, Pamela Haynes,

27   Eleni Kounalakis, Harry Le Grande, Paul Medina, Jennifer L. Perry, Bill Rawlings, Mary H.

28   Salas, Blas Villalobos, and Joseph R. Williams, in their official capacities as members of the
                                                     1
       Defendants’ Opposition to Administrative Motion For Leave to File Oversized Brief (1:23-cv-01228-ADA-CDB)
     Case 1:23-cv-01228-ADA-CDB Document 15 Filed 08/24/23 Page 2 of 3


 1   Board of Governors of the California Community Colleges, oppose Plaintiffs’ administrative

 2   motion for leave to file an oversized brief. Plaintiffs in the matter of Johnson v. Watkin, Eastern

 3   District of California Case Number 1:23-cv-00848-ADA-CDB, filed a Motion for Preliminary

 4   Injunction supported by a brief making essentially the same allegations and arguments asserted in

 5   Plaintiffs’ proposed brief here, without exceeding the page limits set under paragraph I.c. of this

 6   Court’s Standing Order in Civil Actions. Accordingly, Defendants submit that good cause has

 7   not been shown for leave to file an oversized brief.

 8         If this Court does grant leave, Defendants request that they be permitted to file a similarly

 9   sized brief in opposition to the Motion for Preliminary Injunction.

10   Dated: August 24, 2023                                   Respectfully submitted,
11                                                            ROB BONTA
                                                              Attorney General of California
12                                                            ANYA M. BINSACCA
                                                              Supervising Deputy Attorney General
13

14
                                                              /s/ Jay C. Russell
15                                                            JAY C. RUSSELL
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16                                                            Deputy Attorneys General
                                                              Attorneys for Defendants Sonya Christian,
17                                                            in her official capacity as the Chancellor of
                                                              the California Community Colleges; Amy
18                                                            M. Costa, Hildegarde B. Aguinaldo, Darius
                                                              W. Anderson, Adrienne C. Brown, Tom
19                                                            Epstein, Felicia Escobar Carrillo, Jolena
                                                              M. Grande, Pamela Haynes, Eleni
20                                                            Kounalakis, Harry Le Grande, Paul
                                                              Medina, Jennifer L. Perry, Bill Rawlings,
21                                                            Mary H. Salas, Blas Villalobos, and Joseph
                                                              R. Williams, in their official capacities as
22                                                            members of the Board of Governors of the
                                                              California Community Colleges
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       Defendants’ Opposition to Administrative Motion For Leave to File Oversized Brief (1:23-cv-01228-ADA-CDB)
        Case 1:23-cv-01228-ADA-CDB Document 15 Filed 08/24/23 Page 3 of 3



                               CERTIFICATE OF SERVICE
Case Name:       Palsgaard, Loren, et al. v. Sonya     Case No.     1:23-cv-01228-ADA-CDB
                 Christian, et al.

I hereby certify that on August 24, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:
    •    DEFENDANTS’ OPPOSITION TO ADMINISTRATIVE MOTION FOR LEAVE
         TO FILE OVERSIZED BRIEF
I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on August 24,
2023, at San Francisco, California.


                M. Mendiola
                 Declarant                                           Signature

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